10/16/24, 6:08 PM    Case 3:24-mc-80266-JCSCM/ECF
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                                                              District Court for the10/24/24          Page 1 of 1
                                                                                     District of New Jersey


    10/02/2024            83 TEXT ORDER: For the reasons discussed during the October 2, 2024 conference held
                             on the record: (1) not later than 5:00 p.m. tomorrow, October 3rd, Mr. Danis will turn
                             over his old cellphone to his attorneys, and Defense counsel will file a letter with the
                             Court confirming that has been completed; (2) after Mr. Danis turns over the old
                             cellphone to Defense counsel, Defense counsel and Plaintiff's counsel will agree on the
                             timing and manner in which Defense counsel shall turn over the old cellphone to
                             Plaintiff's counsel; and (3) the October 8, 2024 deposition of Mr. Danis pertaining to
                             discovery shall proceed as scheduled; if any disputes arise during the deposition that
                             require Court intervention, the parties must call the Undersigned for assistance before
                             adjourning the deposition, and failure to do so will be deemed waiver of the right to seek
                             Court relief. Defense counsel's motion to withdraw is held in abeyance pending the next
                             conference, which the Court will schedule via a separate order. So Ordered by
                             Magistrate Judge Michael A. Hammer on 10/2/2024. (Hammer, Michael) (Entered:
                             10/02/2024)




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